Case 2:16-CV-00816-CCC-.]BC Document 234 Filed 04/08/19 Page 1 of 10 Page|D: 5412

UNITED sTATEs DISTRICT COURT y ' 4_ ;; j 1
FoR THE DIsTRICT oF NEW JERSEY ~~ »”: '~ g 1 ij ' ‘

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MICHAEL A. D'ANToNlo Docker No. 2:16-cv-008i64CCC-jB`C l

Plaintiff

vs ' Civil Action
Borough of Allendale, Passaic River NOTICE OF MOTION SEEKING
Coalition, Stiles Thomas, David Bole LEAVE OF THE COURT TO
David Pfund, Mary McDonnell, FILE MOTION IN OPPOSITION
John Albohm, Richard Epstein TO BERGEN COUNTY SHERIFF'S
Thomas Monahan, Louis Capazzi, MOTION FOR SUMMARY
Bergen Sheriffs Department JUDGMENT
Defendants

 

PLEASE TAKE NOTICE that the undersigned Plaintiff Pro Se will move the
Court for Leave of the Court to file this Motion in Opposition to the Bergen County
Sheriff Department's Motion to supplement the Record under its Motion to Dismiss (ECF
178) to include the final disposition of Plaintiffs claims in the State Court.

Plaintiff does request Oral Argument due to the improper submission By Counsel
for the Defendant Bergen County Sheriff Department and Will submit a Brief Outlining
the Position and Material Issues of Facts to support this Submission.

ECF [208] requires All Defendants to state the briefing is complete and that the

Motion be reinstated. The Instant application is defective as to said Order and should be

%M@a;  

Michael A. D'Antonio

P.O. Box 55

Allendale New Jersey 07401
mad.3 l 6@hotmail.com
201-962-5881 cell
201-857-4411 fax

denied.

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BRIEF IN SUPPORT OF PLAINTIFF'S OPPOSITON
Statement of Material Facts:
l. Plaintiff requested appointment of Pro Bono Counsel and was denied.

2. Plaintiff informed the Court and all parties as to the Opinion of the Appellate
Court. ECF [232].

3. Plaintiff filed Leave of the Court to submit a Prerogative Writ in Mandamus for
relief from delays of Default Judgments and Writs of Executions not being signed ECF
[232]

4. Plaintiff filed Leave of the Court to amend the Complaint to include Emigrant
Savings and Retained Realty as to the retirement and closing of Mr. Richard Epstein's
Law Practice.

5. The Weir Law Firm, the present Law Firm Representing Emigrant Savings and
Retained Realty is also the former Law Firm associated with Mr. Epstein prior to his
Retirement. A Contradiction of Facts as submitted by Mr. Epstein. if he was associated
with the Weir Law Firm how can he state he closed his practice.

6. The Opinion entered by the Appellate Panel is improper as to the substitution
of a Judge ( Judge Mawla) to help render a buffer between Judge Ostrer and the final Net
Opinion of the Appellate Panel collectively.

7. The Opinion entered by the Appellate Panel is incomplete and Justice was
altered and concealed as to the ultimate finding of all material issues of facts. The
Appellate Panel refused to abide by Due Process and Equal Protection due this Plaintiff.

8. The Appellate Opinion is totally silent about the named Defendant Patricia
Egan.
9. The Appelate Panel failed to recognize or speak of NEW EVIDENCE

submitted to the panel regarding Mr. Epstein's illegal submission to the Panel, whereby
the Transcript below was misrepresented to the panel, warranting a Mis Trial. Mr.
Epstein left out 50 pages proving that the Foreclosure was made part of the record below
and that if Retained Realty/Emigrant Savings/Mr. Epstein Esq. can reopen the
Foreclosure below, then under Equal Protection and DUE PROCESS this Plaintiff should
also have received the right to reopen the Foreclosure.

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10. The above Material Fact which was submitted to the District Court ECF [232]
and should warrant the instant Motion by the Bergen County Sheriff‘s Department to be
denied and malfeasance be determined by the Defense Attorneys who present issues
before this court to waste time and not in compliance With ECF [208]

l 1. This Plaintiff filed a Prerogative Writ before the Supreme Court which
produced an unsigned letter in response, attached as Exhibit "1" 2 pages.

12. Plaintiff being Pro Se and aware that l needed to file something in the
presence of the illegal incomplete Opinion of the Appellate Panel, filed the Writ. ln that
Exhibit "l " was mailed March 28, 2019 and it took 7 days to arrive, this Appellant
contacted the Court and requested the appropriate forms to comply with the letter from
the Supreme Court.

13. Plaintiff Certifies that this Appeal will be fully contested and taken to the
highest level that is possible.

14. Page 3 of the Opinion declares that the Appeal had limited scope, But the
Opinion clearly admits its violation of my protected civil rights as to the reopening of
the Foreclosure and the Panels failure to abide by the Statutory Requirements for
reopening of a Foreclosure PRIVOUSLY submitted and again herewith submitted:
RULES AND REGULA TIONS set up by the Real Estate Commission known as TITLE 11
Chapter 5 Aa'ministrative Coa'e. See Exhibit"2" l page, Statute of Limitations ;

New Jersey allows a specific time limit of six years during which parties to a contract
may bring legal suit to enforce their rights. Any party who does not take steps to enforce
his or her rights within this statute of limitations may lose these rights. the six year
period applies to contractsL foreclosures, mortgages and cases offraud. Lawsuits to
recover real property have a 10 year statute of limitations in New Jersey.

15. Page 3 of the Opinion, second paragraph states: "Plaintiff‘s remaining
arguments are without sufficient merit to warrant discussion, except as noted in the
following Brief Comments R. 2:11-3(e)(1) (E). This is a contradiction of the Rule in that
the Panel did not distinguish what arguments are without merit .

16. The Appellate Panel determines that the Plaintiff missed the 90 day Statutory
time limit for filing a claim against a moving company and yet the Panel uses the two

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signed receipts as part of their opinion when in fact the receipts States some damages will
send list. lt is physically impossible to render a satisfaction of the statutory requirement
when and if the moving company acts and renders service to comply with the wronng
act and order of the Sheriff‘s Department to STOP LOADING PLAINTIFFS
POSSESSIONS into the moving company vehicles. Therefore making the Sheriff‘s
Department responsible for the damages

17. Plaintiff requested relief from the Appellate Panel in that Plaintiff had 40
years of accumulated possessions,4 times the amount of a regular eviction, and that a
hardship existed in that the way the moving company packed the storage units and the
amount of damages was so large that it could not be estimated in the statutory time. The
contractors could not view all the possession and it was a huge project to unload the
storage units to get estimates. The estimates were then given at the time of the litigation

18. As stated in 16 above the Appellate panel relies of the two releases signed at
the conclusion of the eviction. This is not fact. The eviction is not over until the
possession are removed and put into the storage units. The Sheriff‘s Department and Ms.
Egan used coercion and terroristic threats to get this Plaintiff to sign the releases. Ms.
Egan cursed and threatened to have me thrown out WITHOUT MY POSSESSIONS IF I
DID NOT SIGN THE RELEASES prior to the eviction being completed.

l9. Plaintiff did NOT fail to state the damages plaintiff COULD not state the
value of the damages due to the extensive theft, who was responsible for what and how or
what method could be used to replace or compensate this Plaintiff.

20. The Appellate Opinion is silent about the actions of the Bergen County
Sheriff‘s department in that the BCSD ORDERED the Network Trucking Company to
STOP loading the Plaintiff‘s possessions and lock the garage doors and stop me from
looking to see how much tools and wood and other possessions were being not loaded on
the trucks..

21. Plaintiff produced legally competent evidence as to the value of the lost ,

damaged or stolen goods from estimates included in the litigation

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22. The Appeal was filed due to Interlocutory Orders and improper decisions of
the State Court Judge in not allowing an Amended Complaint.

a) Judge Cruz denied Plaintiff‘s finding due to the Statute of Limitations being 2
years when it is 6 years as presented in Paragraph 14 above.

b) Plaintiff served above documents on Defendant Retained Realty, and by its
Attorney Richard Epstein who did not respond. Therefore under Local Rule 4:5-5 Effect
of Failure to Deny the Appellate Panel refused to accept these facts as admissions Again
in contradiction to the Appelate Panels statement of Limited Scope.

c) Network Trucking nor the BC SD denied the facts submitted and therefore the
facts are admitted.

d) Attached as Exhibit "3" is the copy of the Filed Appellant's Reply Brief dated
August 28, 2018 see page 33, 2nd Page ECF [208] Order of Judge Cecchi
Administratively Terminating all Defendants motions to dismiss pending full briefing ,
and a submission by all parties indicating full briefing is complete and requesting that the
motion be reinstated. The BCSD has failed to indicate that full briefing is complete by all
parties thereby making the instant Motion defective as per Judge Cecchi's Order

e) Plaintiff submitted a 33 page Reply Brief yet the Appellate Panel states on Page
3 of the Opinion, second paragraph "In addressin lainti s a eal we crst note its
limited scope" . Yet in the Procedural History, the Appellate panel has failed to
adjudicate a point by point decision on the Material Facts present therein.

1) Retained Realty's judgment against Plaintiff personally, $11,600.00. This was a
result of the Foreclosure and thereby concludes that Retained Realty under Mr. Epstein
Esq. reopened the Foreclosure. Further this enables the Plaintiff to also reopen the
Foreclosure, which was denied and not revisited by the Appellate Panel.

2.) Judge Cruz states the Statute of Limitations on Foreclosures is 2 years when
by Law it is 6years. The Appelate Panel Opinion must be reversed.

3) Judge Cruz and the Appelate Panel failed to accept the Administrative Code.
Title 45 Chapter 15 OAL, Title ll Chapter 15 prevail as to the correct Statute of
Limitations being 6 years yet the opinion of the Appelate Panel stating my Appeal was of
Limited Scope is Defective and warrant a mis-Trial or a submission to the Supreme Court

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for an Appeal of the Appelate Courts Opinion.

4) Retained Realty nor the BCSD failed to deny these Material Facts and by Rule
4:5-5 Effect of F ailure to deny, it constitutes an admission wherefore defeating Mr.
Seaman's instant Motion.

5) The Appelate Panel is so obvious as to improper conduct to state the
submission had limited scope especially in the presence of Plaintiff‘s reliance on
Sniadach v Family Finance Corp. Mc Cormack Federalism Sect. 1983 Limitations on
J udicial Empowerment of Constitutional Protection 60 Val. rev 1 (1974) c Antieau
Federal Civil Rights Act Civil Practice (1971) 395 U.S. 342 (1964) .

23. The Bergen County Sheriffs Department /Mr. Seaman presented opposition to
these matters claiming Quasi- J udicial Standing and requested that these matters be
dismissed Judge Cruz held that the Sheriff nor the Department are members of the
Judiciary. Further, Mr. Seaman submitted defense papers alleging that I named the
former Bergen County Sheriff as a Defendant when I did not .

24. Mr. Seaman in violation of the Courts Order ECF [208} now submits another
Motion seeking dismissal for Federal Civil Rights violations predicated on an Affirmed
State Court Appeal Opinion, knowing full well that State Court decisions especially
contested State Court decision do not and can not negate a Federal District Court Matter.

25. Plaintiff received Notice upon the initial filing of these matters that I was
obligated to enter into settlement discussions. This Plaintiff entered into 2 settlement
Discussions through the BCSD counsel Mr. Seaman and both offers were rejected.

26. Plaintiff requests that the conduct of the BCSD be found to be vexatious and
malicious in an attempt to take advantage of some unknown legal venue to this Plaintiff.
Plaintiff has spent over 30 hours in research and formation of this submission and
requests a dismissal of the instant Motion by the BCSD and any fees or compensation the
Court deem appropriate.

27. Mr. Seaman submits language in his Letter Brief dated April l, 2019 page 2
last paragraph, indicating that the opinion of the Appelate Court is a Final Judgment
when it is clearly not marked as such. The Opinion is such an egregious document absent
of all necessary language to make it a complete legal document, that the scope of the

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opinion is just that, an opinion and not fact or factual based upon the absence of all
relevant material issues of fact being submitted and adjudicated in form by this Plaintiffs
submission for an Appeal. Plaintiff/Appellant was not afforded all the proper adjudication
that was necessary to all facts and these facts were not determined equally. This matter is

presently being appealed to the Supreme Court as evidence by Exhibit "2".

Dated: fZ/§'“ 2@/ § Res ectfully Submitted,

alia

/ Michael A. D’ Antonio

CERTIFICATION OF SERVICE

I certify that I delivered an Original and one Copy of the above Motion to the U.S.
District Court Clerks Office for the District of New Jersey 50 Walnut Street, Newark
New Jersey 07101 and that this submission be entered on the ECF system as service to all

other named Defendants.

Dated: /7'§/26/, '

 

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SUPREME COURT GF NEW JERSEY

HEATHER Jov BAKER
CLERK OFFICE oF THE CLERK
PO Box 970
GAIL GRUNDITZ HANE\/ TRENTON, NEW JERSE\/ 08625-0970

DEPUT\/ CLERK

 

March 28, 2019

Michael D’Antonio z
Po BOX 55 n l

' i j v \ l
Allendale, NJ 07401 '~U;` /] § l) l\/y

Dear Mr. D’Antonio: j kp’l §§ U/l/UY

This office has received your papers on March 13, 2019, requesting the Court to issue a
“Prerogative Writ of Mandamus”. Please note, as previously stated in the February 28, 2019 letter
sent to you, that a “Writ of Mandamus” and a “Prerogative Wirt of Mandamus” are not a recognized
form of application for relief from the New Jersey Supreme Court, therefore, your papers cannot
be accepted for filing

Our search of the Appellate Division record has revealed that on February 14, 2019, the
Appellate Division entered an opinion in A-0011-17. The Appellate Division opinion is final for
purposes of seeking further appellate review. If` you wish to ask the Supreme Court for review of
that decision, the most appropriate procedure is to file a notice of petition for certification and
petition for certification §§ § 2112-3 (certification of final judgments of the Appellate Division);
§ 2:12-7 (form, service and filing of petition for certification). The filing fee for the notice of
petition for certification is $250.

In addition, you must submit four copies of your Appellate Division briefs and appendices.

Furthermore, a notice of petition must be filed within twenty (20) days after the entry of
the Appellate Division’ s judgment, § 2:12~3(a), and a petition for certification must be filed within
ten (10) days after the notice or thirty (30) days after the entry of the Appellate Division’s
judgment, _l§; 2:12-7(b). Thus, a notice and petition received at this time would be untimely. If
you wish to have a notice of petition and petition for certification considered by the Court, please
also provide a motion for leave to file the documents as within time, demonstrating good cause for
the filing delay. The filing fee for the motion is $50. All of this information was included in the
Guiale to F iling for Litigants without Lawyers, sent on February 28, 2019.

To summarize, the following is required in order for the case to proceed to the
Supreme Court for its consideration:

(1) An original notice of petition for certification.

(2) Notice of petition for certification filing fee of 3250. Payment may be made by
check or money order payable to the “Treasurer, State of New Jersey.”

(3) An original and three copies of a petition for certification.

(4) An original and eight copies of a motion for leave to file the notice and petition as

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Michael D’Antonio v. Retained Realty Inc. (A-0011-17)
Page 2 of 2
March 28, 2019
within time. The motion must include a notice of motion and an affidavit
providing good cause for the filing delay.
(5) Motion filing fee of $50. Payment may be made by check or money order payable
to the “Treasurer, State of New Jersey.”
(6) Four copies of your Appellate Division briefs and appendices.
(7) A proof of service for every document submitted to the Court.

Please note that all litigants must follow the Rules of Court, which contain requirements
on filing, service, brief format, number of copies, and so on. For further information on proper
filing procedures with the Supreme Court, please refer to the Guide to F iling for Litigants without
Lawyers. I have enclosed another copy for your review.

Should you have further questions, you may contact the Clerk’s Office at (609) 815-2955.

_Sinc.erety,,r , j _

Supreme Court Clerk’s Office

 

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1 36 Essentials of New Jersey Real Estate

ment with Certain adjustments for any damages suf»
fered by the other party);

l impossibility ofperformance, in which an act required
by the contract cannot be legally accomplished;

l mutual agreement of the parties to cancel; and

l operation of law, as in the voiding of a contract by a
minor, as a result of fraud, by expiration of the stat~
ute of limitations, or as a result of a contracts being
altered without the written consent of all parties
involved.

Default-Breach of Contract

A breach of contract is a violation of any of the terms or

conditions of a contract without legal excuse,

seller breaches a sales contract by not delivering title to

the buyer under the condifirms stated m the agreement
lf the seller defaults, the buyer has three altematives:

l. The buyer may resci'nd, or cimcel, the contract and
recover the earnest money deposit.

Z. The buyer may file a court suiL known as an action
for specific performance to force the seller to per~
form the contract (i.e., convey the PYOP€TW)-

3. The buyer may sue the seller for memory damages.

 
 

lf the buyer defaults the sella' may pursue one of
four courses:

l. The seller may declare the contract fmfeited. The
right to forfeit my be provided for in the contract,
and according to the terms of the contract, the
seller may be entitled to retain the earnest money
and all payments received from the buyer as liqui»
dated damages.

2. The seller may rescind the contract; that is, he or she
may cancel, or terminate, the contract as if it had
never been made. This requires die seller to return
all payments the buyer has made.

3. The seller may sue for specific performance This may
require the seller to offer, or tender a valid deed to
the buyer to show the seller’s compliance with the
contract terms.

4. The seller may sue for compensatory dmnages.

Statute of Limitations

New Jersey allows a specific time limit of six years during
which parties to a contract may bring legal suit to
enforce their rights Any party who does not take steps
to enforce his or her rights within this
tions may lose those rights. 1 :‘_ ’’’’ 4

 
 
 

 

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l CQNTRACTS USED lN T!"'i"
ESTATE BUSINESS

The written agreements most commonly er.l
brokers and salespersons are listing agr;
estate sales contracts, and leases.

Preparation of Documents

New Jersey allows brokers (or their agents)
residential leases and standard approved ssi
for one» to four»family residences and vaca: _'
To avoid the unauthorized practice of law, *
their salespersons) may not draft comn-
option agreements, or sales contracts on tr:
land, commercial property, or industrial pr-' 1

New Jersey Requirements

All offers, contracts, or leases prepared by l
indicate the business relationship the 1.
respect to parties named in the documentLi
plete text of the Commission Rule on Discl _
ness Relationships reproduced at the end cf .

Attached to a proposed contract of § j
page must be a copy of the notice reprodu '
dix B, appropriately revised if the broker
buyer or is functioning as a dual agent or at
broker ‘ '€

New ]ersey also requires that the follc
appear in exactly this form at the top of the
sales contract:

THIS lS A LEGALLY BINDING "',
THAT WILL BECOME FlNAL Wl”i*`
BUSINESS DAYS. DURING THIS ."

MAY CHOOSE TO CONSULT Al`~”¥
WHO CAN REVIEW AND/OR Cj'.
CONTRACT. SEE SECTION ON'*.~'
REVIEW FOR DETAILS. - C`-?

The following section must appet..
contract:

ATToRNEY REvIE\y;-i‘;l

l. Study by Attorney. The Buyer or,‘,_
choose to have an attorney study thts:
attorney is consulted, the attorney n'../¢

or her review of the contract wit.
period. This contract will be legally bit

of this three~clay period unless an x

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